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                                                      1600 Wilson Boulevard, Suite 700
                                                      Arlington, VA 22209
                                                      703.243.9423
                                                      www.consovoymccarthy.com


                                               September 20, 2019
The Honorable Victor Marrero
United States District Judge
Southern District of New York
Danial Patrick Moynihan U.S. Courthouse
500 Pearl St.
New York, NY 10007-1312
Re:   Trump v. Vance, 1:19-cv-8694

Dear Judge Marrero:

      Attached is a corrected version of Plaintiff’s memorandum of law in support of his
emergency motion for a temporary restraining order and a preliminary injunction.


                                               Sincerely,

                                                /s/ William S. Consovoy
                                               Counsel for President Donald J. Trump


cc: Solomon Shinerock; Jerry Bernstein
